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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
THE PMI GROUP, INC., a Delaware ) Case No. 11-13730 (BLS)
Corporation, | )
)
Debtor. ) Docket Ref. No. 773

 

 

ORDER, PURSUANT TO SECTION 1121(d) OF THE BANKRUPTCY CODE,
FURTHER EXTENDING DEBTOR’S EXCLUSIVE PERIODS WITHIN WHICH TO
FILE A CHAPTER 11 PLAN AND TO SOLICIT ACCEPTANCES THERETO

Upon consideration of the motion (the “Motion”)” of the Debtor for entry of an
order, pursuant to section 1121(d) of the Bankruptcy Code, Bankruptcy Rule 9006, and Local
Rule 9006-2, extending the Debtor’s exclusive periods to file a chapter 11 plan and to solicit
acceptances of such plan; and it appearing that the relief requested is in the best interests of the
Debtor’s estate, its creditors, and other parties in interest; and it appearing that this Court has
jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing
Order of Reference from the United States District Court for the District of Delaware dated as of
February 29, 2012; and it appearing that this Motion is a core proceeding pursuant to 28 U.S.C.
§ 157(b), and that the Court may enter a final order consistent with Article III of the United
States Constitution; and adequate notice of the Motion and opportunity for objection having been
given, with no objections or requests for hearing having been filed, or all objections having been

overruled, as the case may be; and it appearing that no other notice need be given; and after due

deliberation and sufficient cause therefore, it is hereby;

 

' The last four digits of the Debtor’s federal tax identification number are 9675. The Debtor’s mailing

address is 3003 Oak Road, Walnut Creek, California 94597 (Attn: L. Stephen Smith).

2 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.

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ORDERED, ADJUDGED, AND DECREED that:

1. The Motion is granted.

2. The Debtor’s Exclusive Filing Period shall be extended through and
including May 23, 2013.

3. The Debtor’s Exclusive Solicitation Period shall be extended through and
including July 23, 2013.

4, This Court shall retain jurisdiction with respect to all matters arising from
or related to the implementation or interpretation of this Order.

Dated: Yareh off 2013 Kye EMAL

Wilmington, Delaware

 

 

Brendan L. Shannon
United States Bankruptcy Judge

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